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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )            8:03CR387
                                            )
                    Plaintiff,              )
                                            )
      v.                                    )                 ORDER
                                            )
JOLYN GALE,                                 )
                                            )
                    Defendant.              )


      The court has requested that Document Number 85 be stricken from the record for
the following reason(s):
      (X)    Incorrect/Incomplete PDF document attached.
      IT IS THEREFORE ORDERED that the Clerk’s Office shall strike Document Number
85 from the record. The document will be refiled.
      DATED this 2nd day of June, 2005.


                                            BY THE COURT:



                                            s/Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            UNITED STATES DISTRICT JUDGE
